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                United States Court of Appeals
                     for the Sixth Circuit


United States of America,
                 Plaintiff-Appellee,

     v.                                                      No. 17-3468

Mark Anthony Brown,
                 Defendant-Appellant.




Plaintiff-Appellee’s Second Motion to Extend Briefing Schedule



     Plaintiff-Appellee United States of America moves the Court to ex-

tend the briefing schedule in this case by two weeks. An additional two

weeks is needed to finalize the appellee’s brief. Counsel has been out of

the office all week in connection with work on another matter. Defend-

ant-Appellant was found guilty by a jury and sentenced to 18-months

imprisonment. This is the second, and final, request for an extension of

time by the United States.
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     For these reasons, the United States asks the Court to grant this

motion and extend the due date for the appellee’s brief by fourteen days.



                                  Respectfully submitted,

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                                  United States Attorney


                                  s/ Jonathan J.C. Grey
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                          Certificate of Service

     I certify that this Appellee’s Second Motion for Extension was filed

with the Court’s CM/ECF system this 20th day of October, 2017, which

provides electronic service to all parties.


                                   s/ Jonathan J.C. Grey
                                   JONATHAN J.C. GREY
                                   Assistant United States Attorney
